PS 42
(Rev. 7/93)

IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF MISSOURI

UNITED STATES OF AMERICA

VS,

Case No. 21-05003-03-CR-SW-MDH

Nm ee ee ee ee”

JOSHUA T. DAVENPORT

CONSENT TO MODIFY CONDITIONS OF RELEASE
I, Joshua T. Davenport, have discussed with Damon G. Mitchell, Pretrial Services/Probation Officer,
modifications of my release conditions as follows:

At the request of the defendant, the Court agrees to remove the following condition:
(6) The defendant is placed in the third-party custody of Doris Davenport.

I consent to this modification of my release conditions and agree to abide by this modification.

/s/ Joshua T. Davenport Jun 15, 2021 /s/ Damon G. Mitchell Jun 15, 2021

 

Signature of Defendant Date Pretrial Services/Probation Officer Date

I have reviewed the conditions with my client and concur that this modification is appropriate.

/s/ Erica Mynarich Jun 15, 2021

Signature of Defense Counsel Date

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The above modification of conditions of release is ordered, to be effective on Ns ] as |

The above modification of conditions of release is not ordered.

Leer leh 6/o4/ doa!

Signature of Judicial Officer Date

 

 

 

 

 

 

 

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